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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------X
In re:                                                              Chapter 11

99 SUTTON LLC,                                                      Case No.: 21-43124 (ESS)

                                    Debtor.
------------------------------------------------------------X

           DISCLOSURE STATEMENT FOR PLAN OF REORGANIZATION OF
           THE DEBTOR UNDER CHAPTER 11 OF THE BANKRUPTCY CODE



THIS DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY AFFECT
CREDITORS’ DECISIONS TO ACCEPT OR REJECT THE PLAN OF
REORGANIZATION ANNEXED HERETO AS EXHIBIT A. ALL CREDITORS ARE
URGED TO READ THIS DISCLOSURE STATEMENT CAREFULLY. ALL
CAPITALIZED TERMS CONTAINED IN THIS DISCLOSURE STATEMENT SHALL
HAVE THE SAME MEANING AS CAPITALIZED TERMS CONTAINED IN THE
FIRST AMENDED PLAN OF REORGANIZATION.

THE DEBTOR HAS NOT AUTHORIZED ANY ENTITY TO GIVE ANY
INFORMATION ABOUT OR CONCERNING THE PLAN OTHER THAN THAT
WHICH IS CONTAINED IN THIS DISCLOSURE STATEMENT. THE DEBTOR HAS
NOT AUTHORIZED ANY REPRESENTATIONS CONCERNING THE DEBTOR OR
THE VALUE OF HER PROPERTY OR HER ASSETS OTHER THAN AS SET FORTH
IN THIS DISCLOSURE STATEMENT.




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    I.       Introduction

          This is the disclosure statement (the “Disclosure Statement”) in the chapter 11 case of 99

Sutton LLC (the “Debtor”). This Disclosure Statement provides information about the Debtor

and the plan filed on April 21, 2022 (the “Plan”) to help you decide how to vote.

          A copy of the Plan is attached as Exhibit A. Your rights may be affected. You should

read the Plan and this Disclosure Statement carefully. You may wish to consult an attorney

about your rights and your treatment under the Plan.

          The proposed distributions under the Plan are discussed at pages 8-11 of this Disclosure

Statement. General unsecured creditors are classified in Class 2 and will receive a pro-rata

distribution of funds remaining after payment of administrative, priority, and secured creditors.

Secured creditors are classified in Class 1 and they will be paid 100% of their allowed claims on

the effective date of the Plan. The secured creditor will receive the net proceeds of a sale or

refinance of the Property. Any deficiency shall be paid by Joseph Torres such that the secured

creditor is paid in full.


             a. Purpose of This Document

          This Disclosure Statement describes:

                 •   The Debtor and significant events during the bankruptcy case,

                 •   How the Plan proposes to treat claims or equity interests of the type you hold
                     (i.e., what you will receive on your claim or equity interest if the plan is
                     confirmed),

                 •   Who can vote on or object to the Plan,

                 •   What factors the Bankruptcy Court (the “Court”) will consider when deciding
                     whether to confirm the Plan,

                 •   Why the Debtor believes the Plan is feasible, and how the treatment of your
                     claim or equity interest under the Plan compares to what you would receive on
                     your claim or equity interest in liquidation, and
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                •   The effect of confirmation of the Plan.

        Be sure to read the Plan as well as the Disclosure Statement. This Disclosure Statement

describes the Plan, but it is the Plan itself that will, if confirmed, establish your rights.


            b. Deadlines for Voting and Objecting; Date of Plan Confirmation Hearing

        The Court has not yet confirmed the Plan described in this Disclosure Statement. A

separate order has been entered (please refer to the Order for information concerning the

confirmation hearing and objection deadline) setting the following information:

                •   Time and place of the hearing to finally approve this disclosure statement and
                    confirm the plan,

                •   Deadline for voting to accept or reject the plan; and

                •   Deadline for objecting to the adequacy of disclosure and confirmation of the
                    plan.

        If you need additional information about the Plan, deadlines for objections, or the voting

procedure, you should contact the Debtor’s counsel: Morrison Tenenbaum PLLC, 87 Walker

Street, New York, New York 10013, Telephone: (212) 620-0938, Facsimile: (646)390-5095,

Attn: Brian J. Hufnagel, Esq., bjhufnagel@m-t-law.com


            c. Disclaimer

        THE COURT HAS APPROVED THIS DISCLOSURE STATEMENT AS

        CONTAINING ADEQUATE INFORMATION TO ENABLE PARTIES

        AFFECTED BY THE PLAN TO MAKE AN INFORMED JUDGMENT

        ABOUT ITS TERMS. THE COURT HAS NOT YET DETERMINED

        WHETHER THE PLAN MEETS THE LEGAL REQUIREMENTS FOR

        CONFIRMATION,            AND THE          FACT THAT            THE     COURT HAS

        APPROVED           THIS      DISCLOSURE            STATEMENT            DOES       NOT


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          CONSTITUTE AN ENDORSEMENT OF THE PLAN BY THE COURT, OR

          A RECOMMENDATION THAT IT BE ACCEPTED.

    II.      Background

             a. Description and History of the Debtor’s Business

          The Debtor owns the apartment building located at 99 Sutton Street, Brooklyn, NY

11222 (the “Property”) which consists of 63 units.


             b. Insiders of the Debtor

          The insider of the Debtor is Joseph Torres who is the Manager and 100% owner of the

Debtor.


             c. Management of the Debtor During the Bankruptcy

          The Debtor is managed by Simon Whitley and Joseph Torres at the present time and will

continued to be managed by Mr. Whitely and Mr. Torres post-confirmation. Mr. Whitley and

Mr. Torres do not receive any compensation from the Debtor.


             d. Events Leading to Chapter 11 Filing

          The Debtor’s bankruptcy filing was precipitated by a dispute between the Debtor and the

predecessor to 99 Sutton Lender LLC, Customers Bank, regarding the repayment of real property

taxes advanced by Customers Bank on behalf of the Debtor. The Debtor filed chapter 11 in

order to resolve claims of all creditors in one forum and reorganize and propose a plan to pay its

creditors.


             e. Significant Events During the Bankruptcy Case




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               •   On December 20, 2021, the Debtor filed a voluntary petition for relief under
                   chapter 11 of the bankruptcy code. No creditors committee, examiner, or
                   trustee has been appointed in this case.

               •   On January 27, 2022, the Court entered an order setting March 28, 2022 as the
                   bar date by which proofs of claim must be filed. The bar date for
                   governmental creditors was fixed for June 18, 2022.

               •   On January 28, 2022, the Court entered an order authorizing the Debtor to
                   retain Morrison Tenenbaum PLLC as counsel to the Debtor.

               •   On April 6, 2022, the Debtor filed a complaint against 99 Sutton Lender LLC
                   seeking a stay pursuant to section 105 of the Bankruptcy Code of an action
                   commenced by the lender against Joseph Torres on his guaranty of the
                   mortgage.

               •   The Debtor has been marketing the Property for sale and has received offers
                   to purchase the Property. Additionally, the Debtor has obtained a letter of
                   intent to refinance the mortgage on the Property. Both the sale price and
                   refinance are insufficient to pay the lender in full and the deficiency will be
                   paid by Joseph Torres.



           f. Projected Recovery of Avoidable Transfers

       Based upon a review of the Debtor’s records, the Debtor does not believe that there are

any actionable preference actions pursuant to section 547 of the Bankruptcy Code.

       In the event that the Plan is not confirmed, the Debtor reserves the right to bring such

actions if further review of its books and records discloses an actionable claim.


           a. Claims Objections

           b. Claims Objections

       Except to the extent that a claim is already allowed pursuant to a final non-appealable

order, the Debtor reserves the right to object to claims. Therefore, even if your claim is allowed

for voting purposes, you may not be entitled to a distribution if an objection to your claim is later

upheld. Disputed claims are treated in Article 5 of the Plan.



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           Pursuant to the Plan, all claims objections will be filed no later than 90 days after entry

for the confirmation order, unless extended pursuant to order of the Court.


              c. Current and Historical Financial Conditions

           The identity and fair market value of the estate’s assets are listed in Exhibit B.

           The most recent post-petition operating report filed since the commencement of the case

is set forth in Exhibit C.


    III.       Summary of the Plan of Reorganization and Treatment of Claims and Equity
              Interests

              a. What is the Purpose of the Plan of Reorganization?

           As required by the Bankruptcy Code, the Plan places claims and equity interests in

various classes and describes the treatment each class will receive. The Plan also states whether

each class of claims or equity interests is impaired or unimpaired. If the Plan is confirmed, your

recovery will be limited to the amount provided by the Plan.


              b. Unclassified Claims

           Certain types of claims are automatically entitled to specific treatment under the

Bankruptcy Code. They are not considered impaired, and holders of such claims do not vote on

the Plan. They may, however, object if, in their view, their treatment under the Plan does not

comply with that required by the Bankruptcy Code. Therefore, the Plan Proponent has not

placed the following claims in any class:

                       i. Administrative expenses, involuntary gap claims, and quarterly and
                          Court fees

           Administrative expenses are costs or expenses of administering the Debtor’s Chapter 11

case which are allowed under § 503(b) of the Bankruptcy Code. Administrative expenses



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include the value of any goods sold to the Debtor in the ordinary course of business and received

within 20 days before the date of the bankruptcy petition, and compensation for services and

reimbursement of expenses awarded by the court under § 330(a) of the Bankruptcy Code. The

Bankruptcy Code requires that all administrative expenses be paid on the effective date of the

Plan, unless a particular claimant agrees to a different treatment. Involuntary gap claims allowed

under § 502(f) of the Bankruptcy Code are entitled to the same treatment as administrative

expense claims. The Bankruptcy Code also requires that fees owed under section 1930 of title

28, including quarterly and court fees, have been paid or will be paid on the effective date of the

Plan.

            The following chart lists the Debtor’s estimated administrative expenses, and quarterly

and court fees, and their proposed treatment under the Plan:


    Administrative expenses               Estimated Amount Owed                  Proposed Treatment
    Morrison Tenenbaum PLLC               Estimated unpaid fees                  Paid in full upon entry of an
                                          through confirmation:                  order granting a final fee
                                          $60,000.00                             application of Morrison
                                                                                 Tenenbaum PLLC.
    Statutory Court fees                  $0.00                                  Paid in full on the effective
                                                                                 date of the Plan
    Statutory Quarterly fees              Current 1                              Paid in full on the effective
                                          Estimated quarterly fees for           date of the Plan
                                          Plan disbursements:
                                          $180,000.00
    Total                                 $240,000.00


                        ii. Priority tax claims

            Priority tax claims are unsecured income, employment, and other taxes described by §

507(a)(8) of the Bankruptcy Code. Unless the holder of such a § 507(a)(8) priority tax claim




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    Any outstanding fees owed to the U.S. Trustee will be paid prior to the confirmation hearing.


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agrees otherwise, it must receive the present value of such claim pursuant to 11 U.S.C. § 511, in

regular installments paid over a period not exceeding 5 years from the order of relief.

       Under § 1129(a)(9)(C), holders of § 507(a)(8) claims are paid, over a period not later

than 5 years after the order for relief, the allowed amount of their claim.

           •   The following chart lists the Debtor’s estimated § 507(a)(8) priority tax claims

               and their proposed treatment:

 Name and type of tax     Claim No.            Filed Amount of Claim      Treatment
 New York State           1                    $69.56                     Paid in full on the
 Department of                                                            effective date of the
 Taxation & Finance                                                       Plan.



           c. Classes of Claims and Equity Interests

                    i. Classes of Secured Claims

       Allowed Secured Claims are claims secured by property of the Debtor’s bankruptcy

estate (or that are subject to setoff) to the extent allowed as secured claims under § 506 of the

Code. If the value of the collateral or setoffs securing the creditor’s claim is less than the amount

of the creditor’s allowed claim, the deficiency will be classified as a general unsecured claim.

       The following chart lists all classes containing Debtor’s secured prepetition claims and

their proposed treatment under the Plan:

 Class Description                    Amount                    Impairment?        Treatment
 1     Secured Claim 99 Sutton        $20,780,703.61 plus       Impaired           The Lender will
       Lender LLC, claim no. 4        interest.                                    receive the net
                                                                                   proceeds of a
                                                                                   sale or
                                                                                   refinance of the
                                                                                   Property. Any
                                                                                   deficiency shall
                                                                                   be paid by
                                                                                   Joseph Torres
                                                                                   such that the


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                                                                                    secured creditor
                                                                                    is paid in full
                                                                                    upon closing of
                                                                                    the sale or
                                                                                    refinance of the
                                                                                    Property.


                    ii. General Unsecured Claims

       General unsecured claims are not secured by property of the estate and are not entitled to

priority under § 507(a) of the Code. The Debtor has 2 unsecured creditors: Consolidated Edison

Company of New York Inc. in the amount of $4,507.45 and the Internal Revenue Service in the

amount of $18,362.29. The Debtor has placed all general unsecured creditors in class 2.

       The following chart identifies the Plan’s proposed treatment of class 2:


 Class Description                               Impairment?            Treatment
 2     All general unsecured creditors           Impaired               Unsecured creditors shall
                                                                        receive a pro-rata
                                                                        distribution of all funds
                                                                        remaining after payment of
                                                                        administrative, priority, and
                                                                        secured claims.



                    iii. Classes of equity interest holders

       Equity interest holders are parties who hold an ownership interest (i.e., equity interest) in

the Debtor. In a corporation, entities holding preferred or common stock are equity interest

holders. In a partnership, equity interest holders are the members. Finally, with respect to an

individual who is a debtor, the debtor is the equity interest holder.

       The following chart sets forth the Plan’s proposed treatment of the classes of equity

interest holders:




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 Class Description               Impairment?        Treatment
 3     Equity interest           Unimpaired         Under the Plan, equity interest holders will
       holders of the                               retain their interests.
       Debtor


           d. Means of Implementing the Plan

                    i. Source of payments

       The Debtor shall fund the Plan by selling the Property or refinancing the mortgage.

Under the Plan the Debtor shall retain a real estate broker and market the Property for sale or

shall obtain a refinance of the mortgage. Any deficiency shall be funded by Joseph Torres at the

closing of the sale or refinance. The Debtor shall have through August 1, 2022 to pay in full all

obligations to the Lender pursuant to the loan documents or to file a motion on shortened time to

sell the Property at auction subject to higher and better offers with an opening price (i) sufficient

to make payment in full to the lender or (ii) a lower opening auction price on consent of the

Lender. The auction shall be held at the Bankruptcy Court or such other place that is mutually

acceptable to the Debtor and the Lender.

       The August 1, 2022 deadline may be extended on consent of the Lender by Notice of

Proposed Stipulation subject to approval of the Bankruptcy Court.

       The Debtor shall have the option at all times to refinance the Property provided that such

refinancing is at an amount sufficient to pay all creditors in full.

       The Debtor’s counsel Morrison Tenenbaum PLLC shall be the disbursing agent (the

“Disbursing Agent”) under the Plan.

       If the Debtor defaults under the Plan after confirmation but prior to entry of a final

decree, the Court shall have the authority to appoint a plan administrator to implement the Plan

or take such other actions authorized by 11 U.S.C. § 1142.




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                   ii. Post-confirmation Management

       The Debtor will continue to be managed by Joseph Torres and Simon Whitley post-

confirmation. Mr. Torres and Mr. Whitley do not receive a salary from the Debtor.



           e. Risk Factors

       The proposed Plan has the following risks:

       The Property could sell for less than the amount required to pay the secured creditor in

full. In that event, Joseph Torres is required to pay any shortfall pursuant to his personal

guaranty, but, with a shortfall, unsecured creditors would receive no distribution. However, the

Debtor has received several offers post-petition that are enough to pay all creditors in full. The

most recent appraisal dated December 11, 2019 values the Property at $30 million. However, the

Debtor believes that the Property will sell for much less at auction.



           f. Executory Contracts and Unexpired Leases

       There are no other executory contracts or unexpired leases to be rejected or assumed

under the Plan.


           g. Tax Consequences of the Plan

       The Debtor does not believe that there will be any negative tax consequences to the

Debtor or to Creditors under the Plan. To the extent that a creditor is not paid in full under the

Plan, such creditor may be entitled to a bad debt deduction. To the extent that a creditor has

taken a bad debt deduction, Plan distributions may be taxable as income.

       THE        PROPONENT        DOES      NOT      PURPORT,          THROUGH        THIS

       DISCLOSURE STATEMENT, TO ADVISE THE CREDITORS OR



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          INTEREST HOLDERS REGARDING THE TAX CONSEQUENCES OF

          THE TREATMENT OF THE CREDITORS AND INTEREST HOLDERS

          UNDER THE PLAN. CREDITORS AND INTEREST HOLDERS SHOULD

          SEEK      INDEPENDENT            COUNSEL         CONCERNING            THE      TAX

          CONSEQUENCES OF THEIR TREATMENT UNDER THE PLAN.


   IV.        Confirmation Requirements and Procedures

          To be confirmable, the Plan must meet the requirements listed in §1129 of the Code.

These include the requirements that:

          •   The Plan must be proposed in good faith;

          •   If a class of claims is impaired under the Plan, at least one impaired class of claims
              must accept the Plan, without counting votes of insiders;

          •   The Plan must distribute to each creditor and equity interest holder at least as much as
              the creditor or equity interest holder would receive in a chapter 7 liquidation case,
              unless the creditor or equity interest holder votes to accept the Plan; and

          •   The Plan must be feasible.

          These requirements are not the only requirements listed in § 1129, and they are not the

only requirements for confirmation.


              a. Who May Vote or Object

          Any party in interest may object to the confirmation of the Plan if the party believes that

the requirements for confirmation are not met.

          Many parties in interest, however, are not entitled to vote to accept or reject the Plan.

Except as stated in Part IV.A.3 below, a creditor or equity interest holder has a right to vote for

or against the Plan only if that creditor or equity interest holder has a claim or equity interest that

is both


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        (1) Allowed or allowed for voting purposes and

        (2) Impaired.

        In this case, the Plan Proponent believes that all classes of creditors are unimpaired and

deemed to have accepted the Plan.


                    i. What is an allowed claim or an allowed interest?

        Only a creditor or equity interest holder with an allowed claim or an allowed equity

interest has the right to vote on the Plan. Generally, a claim or equity interest is allowed if either

        (1) the Debtor has scheduled the claim on the Debtor’s schedules, unless the claim has
            been scheduled as disputed, contingent, or unliquidated, or

        (2) the creditor has filed a proof of claim or equity interest, unless an objection has been
            filed to such proof of claim or equity interest.

        When a claim or equity interest is not allowed, the creditor or equity interest holder

holding the claim or equity interest cannot vote unless the Court, after notice and hearing, either

overrules the objection or allows the claim or equity interest for voting purposes pursuant to Rule

3018(a) of the Federal Rules of Bankruptcy Procedure.

        The deadline for filing a proof of claim in this case was March 28, 2022

                   ii. What is an impaired claim or impaired equity interest?

        As noted above, the holder of an allowed claim or equity interest has the right to vote

only if it is in a class that is impaired under the Plan. As provided in § 1124 of the Code, a class

is considered impaired if the Plan alters the legal, equitable, or contractual rights of the members

of that class.


                   iii. Who is not entitled to vote

        The holders of the following five types of claims and equity interests are not entitled to




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vote:

         •     holders of claims and equity interests that have been disallowed by an order of the
               Court;
         •     holders of other claims or equity interests that are not “allowed claims” or
               “allowed equity interests” (as discussed above), unless they have been “allowed”
               for voting purposes;
         •     holders of claims or equity interests in unimpaired classes;
         •     holders of claims entitled to priority pursuant to §§ 507(a)(2), (a)(3), and
               (a)(8) of the Code;
         •     holders of claims or equity interests in classes that do not receive or retain any
               value under the Plan; and
         •     administrative expenses.

         Even if you are not entitled to vote on the plan, you have a right to object to the

confirmation of the Plan and the adequacy of the Disclosure Statement.


                     iv. Who can vote in more than one class

         A creditor whose claim has been allowed in part as a secured claim and in part as an

unsecured claim, or who otherwise hold claims in multiple classes, is entitled to accept or reject a

Plan in each capacity, and should cast one ballot for each claim.


               b. Votes necessary to Confirm the Plan

        If impaired classes exist, the Court cannot confirm the Plan unless:
         (1)      all impaired classes have voted to accept the Plan; or
         (2)      at least one impaired class of creditors has accepted the Plan without counting the
                  votes of any insiders within that class, and the Plan is eligible to be confirmed by
                  “cram down” of the non-accepting classes, as discussed later in Section b.ii.

                       i. Votes necessary for a class to accept the plan

         A class of claims accepts the Plan if both of the following occur:
         (1)   the holders of more than ½ of the allowed claims in the class, who vote, cast their
               votes to accept the Plan, and
         (2)   the holders of at least ⅔ in dollar amount of the allowed claims in the class, who


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           vote, cast their votes to accept the Plan.

       A class of equity interests accepts the Plan if the holders of at least ⅔ in amount of the

allowed equity interests in the class, who vote, cast their votes to accept the Plan.


                   ii. Treatment of non-accepting classes of secured claims, general
                       unsecured claims, and interests

       Even if one or more impaired classes reject the Plan, the Court may nonetheless confirm

the Plan upon the request of the Plan proponent if the non-accepting classes are treated in the

manner prescribed by § 1129(b) of the Code. A plan that binds non-accepting classes is

commonly referred to as a cram down plan. The Code allows the Plan to bind non-accepting

classes of claims or equity interests if it meets all the requirements for consensual confirmation

except the voting requirements of § 1129(a)(8) of the Code, does not discriminate unfairly, and

is fair and equitable toward each impaired class that has not voted to accept the Plan.


       You should consult your own attorney if a cram down confirmation will affect your

claim or equity interest, as the variations on this general rule are numerous and complex.


           c. Liquidation Analysis

       To confirm the Plan, the Court must find that all creditors and equity interest holders who

do not accept the Plan will receive at least as much under the Plan as such claim and equity

interest holders would receive in a chapter 7 liquidation. The Debtor believes that all creditors

are being paid at least as much as they would receive in a liquidation. A liquidation analysis is

attached to this Disclosure Statement as Exhibit D.




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            d. Feasibility

        The Court must find that confirmation of the Plan is not likely to be followed by the

liquidation, or the need for further financial reorganization, of the Debtor or any successor to the

Debtor, unless such liquidation or reorganization is proposed in the Plan. The Plan proposes and

provides for the liquidation of the Debtor so the issue of the future viability of the Debtor is not

relevant to confirmation in this case.


                    i. Ability to initially fund plan

        The Plan Proponents believes that the Debtor will have enough cash on hand on the

effective date of the Plan to pay all the claims and expenses that are entitled to be paid on that

date. Tables showing the estimated amount of cash required on the effective date of the Plan are

attached to this disclosure statement as Exhibit E.


                    ii. Ability to make future plan payments and operate without further
                        reorganization.

        The Plan Proponents must also show that they will have enough cash over the life of the

Plan to make the required Plan payments and operate the debtor’s business.

        The Plan Proponents have provided projected financial information. Those projections

are listed in Exhibit F.

        The Plan Proponent’s financial projections show that the Debtor will have an aggregate

annual average cash flow, after paying operating expenses and post-confirmation taxes that is

sufficient to meet its post-confirmation obligations.

        You should consult with your accountant or other financial advisor if you have any

questions pertaining to these projections.




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   V.      Effect of Confirmation of Plan

           a. No Discharge of Debtor



        Discharge if the Debtor is a corporation and § 1141(d)(2) is not applicable. On the

effective date of the Plan, the Debtor shall be discharged from any debt that arose before

confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in

§ 1141(d)(1)(A) of the Code, except that the Debtor shall not be discharged of any debt:


        (1) Imposed by the Plan, or

        (2) To the extent provided in 11 U.S.C. § 1141(d)(6).

        In the event that the Debtor liquidates and sells the Property, the Debtor will not receive

a. Discharge pursuant to § 1141(d)(3).

        Pursuant to the Final Cash Collateral Order entered in the Debtor’s case, neither the

Adequate Protection Superpriority Claim or the Replacement Lien shall be discharged by the

confirmation order, notwithstanding section 1142(d) of the Bankruptcy Code, unless (i) the order

is entered with the prior written consent of the Lender, or (ii) the Adequate Protection

Superpriority Claim has been Paid in Full on or before the effective date of such plan.

The Debtor will only receive a discharge if the Debtor refinances the mortgage on the Property

and continues to operate. If the Debtor sells the Property and ceases operations, the Debtor will

not receive a discharge under the plan pursuant to § 1141(d)(3) of the Bankruptcy Code.


           b. Modification of Plan

        The Plan Proponents may modify the Plan at any time before confirmation of the Plan.

However, the Court may require a new disclosure statement and/or re-voting on the Plan.




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           The Plan Proponents may also seek to modify the Plan at any time after confirmation

only if:

           (1) The Plan has not been substantially consummated and

           (2) The Court authorizes the proposed modifications after notice and a hearing.

              c. Final Decree

           Pursuant to EDNY LBR 3022-1, the Debtor shall file a final decree motion with the

Court on notice to the Office of the United States Trustee within 14 days following the full

administration of the Debtor’s estate. Upon request, the Court may reduce or extend the time to

file such application.


    VI.        Other Plan Provisions

              a. Statutory Fees

           Statutory fees, and any applicable interest thereon, are all fees payable pursuant to

chapter 123 of title 28, United States Code, including, but not limited to, all fees required to be

paid by 28 U.S.C. § 1930(a)(6) and interest, if any, required to be paid by 31 U.S.C. §3717

(collectively, “U.S. Trustee Fees”). U.S. Trustee Fees will accrue and be timely paid until the

Case is closed, dismissed, or converted to another chapter of the Bankruptcy Code. Any U.S.

Trustee Fees owed on or before the Effective Date of this Plan will be paid in full on the

Effective Date of the Plan. The Debtor shall remain responsible for any and all U.S. Trustee fees

that become due and shall pay same on a timely basis.


              b. Quarterly Reports

           Until the Chapter 11 Cases is closed, converted or dismissed, whichever is earlier, the

Reorganized Debtor shall file quarterly reports setting forth the status of Distributions to holders




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of Allowed Class 1, and 2 Claims. The quarterly reports shall be filed on or before the 15th day

of July, October, January and April. In addition, the Disbursing Agent shall maintain an accurate

register of the General Unsecured Claims.


           c. Re-vesting of Assets and Continuing Existence

       As of the Effective Date, pursuant to provisions of Bankruptcy Code sections 1141(b)

and (c), all property and assets of the Debtor and the Debtor’s estate shall be transferred to and

shall vest in the Post-Confirmation Debtor free and clear of all Liens, Claims and Interests,

except as otherwise expressly provided in this Plan and the Confirmation Order.

       Unless otherwise agreed to by the claimant, immediately after the earlier of a Final Order

of the Bankruptcy Court or the occurrence of the Effective Date, the Debtor or the Post-

Confirmation Debtor shall pay all Allowed Administrative Expense Claims, including Fee

Claims.

       From and after the Effective Date, the Post-Confirmation Debtor will continue in

existence and shall be vested with all of the Debtor’s assets. In addition, the Debtor’s ownership

interests will be unaffected by confirmation of the Plan.


           d. Unclaimed Property

       The Post Confirmation Debtor shall hold all Unclaimed Property (and all interest,

dividends, and other distributions thereon), for the benefit of the respective holders of Claims

entitled thereto under the terms of the Plan.

       At the end of one (1) year following the relevant Distribution Date of particular Cash or

other property to be distributed under the Plan, the holders of Allowed Claims entitled to




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Unclaimed Property held pursuant to this Section shall be deemed to have forfeited such

property, and all right, title and interest in and to such property shall be vested in the Debtor.


             e. Retention of Jurisdiction

       Notwithstanding Confirmation, the Court shall retain jurisdiction for the following

purposes:

       (1)      Determination of the allowability of Claims upon objections filed to such Claims,
                and any pending litigation by the Debtors or by creditors or third parties;

       (2)      Determination of requests for payment of Claims and fees entitled to priority
                under § 507;

       (3)      Resolution of any disputes concerning the interpretation of the Plan;

       (4)      Implementation of the provisions of the Plan;

       (5)      Entry of Orders in aid of Consummation of the Plan;

       (6)      Modification of the Plan pursuant to § 1127 of the Code;

       (7)      Adjudication of any causes of action including voiding powers actions
                commenced by the Debtors-in-Possession; and

       (8)      Entry of a Final Decree and closing the case


             f. Injunction and Exoneration

       Except as otherwise provided in the Plan or Confirmation Order, on and after the

Confirmation Date, all entities which have held, currently hold, or may hold a debt, claim, other

liability of interest against the Debtor pursuant to the provisions of § 1141(d) of the Bankruptcy

Code and this section, are permanently enjoined from taking any of the following actions on

account of such debt, claim, liability, interest or right: (a) commencing or continuing in any

manner any action or other proceeding on account of such claim against property which is to be

distributed under this Plan, other than to enforce any right to distribution with respect to such

property under the Plan; (b) enforcing, attaching, collecting, or recovering in any manner or


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judgment, award, decree, order other than as permitted under sub-paragraph (a) above; and (c)

creating, perfecting, or enforcing any lien or encumbrance against any property to be distributed

under this Plan.

           g. Sale is Free of Transfer Taxes

       The sale under the Plan shall be free of any mortgage, recording, transfer, or other such

tax to the fullest extent permitted by 11 U.S.C. § 1146.

           h. Effective Date

       The Plan shall be effective and binding on the Effective Date. The Effective Date shall

be the date of initial distributions under the Plan which shall be no later than 14 days after the

Debtor closes the sale or refinance of the Property. It will be a condition to the Effective Date

that each of the following provisions, terms, and conditions will have been satisfied pursuant to

the provisions of the Plan:


       (1) The Confirmation Order shall have been entered by the Court and shall not be subject
           to any stay or subject to an unresolved request for revocation under Section 1144 of
           the Bankruptcy Code.

       (2) The Debtor shall have paid initial distributions required by the Plan.



Dated: Brooklyn, New York
       April 20, 2022
                                               99 Sutton LLC


                                               /s/ Joseph Torres
                                               By: Joseph Torres, Manager




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                             EXHIBIT A:
                      PLAN OF REORGANIZATION
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                                   EXHIBIT B:
                            VALUE OF DEBTORS’ ASSETS




99 SUTTON LLC


Apartment building located at 99 Sutton      $25,000,000.00
Street, Brooklyn, NY, value per Schedule A

Estimated Cash on Hand                       $

Total Current Assets                         $
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                        EXHIBIT C:
               MOST RECENT OPERATING REPORT
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                                       EXHIBIT D:
                                 LIQUIDATION ANALYSIS




99 Sutton LLC                     Market Value                      Estimated Value in
                                                                    Liquidation Auction
Apartment building located at     $25,000,000.00                    $20,000,000.00
99 Sutton Street, Brooklyn, NY

Cash on hand

Total Current Assets              $25,000,000.00                    $20,000,000.00

                                  Chapter 7 administrative          $50,000.00
                                  expenses
                                  Chapter 11 administrative         $60,000.00
                                  expenses
                                  Secured Debt                      $20,780,703.61

                                  The Debtor projects that no
                                  funds would be available for
                                  general unsecured creditors
                                  through a liquidation.
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                               EXHIBIT E:
                   ESTIMATED EFFECTIVE DATE PAYMENTS


RORA LLC
 Creditor/Payee                          Amount
 Morrison Tenenbaum PLLC                 $60,000.00
 United States Trustee                   $160,000

99 Sutton Lender LLC                     $20,780,703.61
Interest approximate                     $ XXXXXX

NYS Dept. of Tax & Fin.                  $69.56

Total:                                   $
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                              EXHIBIT F:
                             PROJECTIONS

                To be filed no later than 14 days before the
               hearing to consider confirmation of the Plan
